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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-20500-CR-ALTMAN

 UNITED STATES OF AMERICA,

 v.

 CARLOS AUGUSTO GUERRERO BLANCO,
 ANGELO AGUSTIN COELLO CLEMENTE,
 LUIS ALFONSO NOGUERA MARTINEZ,
 LUIS EDUARDO RODULFO TORRES, and
 ERICK JOSE MORENO RUIZ,

       Defendants.
 ______________________________/

                                       SEALED ORDER

        The Court hereby ORDERS that the Defendants—CARLOS AUGUSTO GUERRERO

 BLANCO, ANGELO AGUSTIN COELLO CLEMENTE, LUIS ALFONSO NOGUERA

 MARTINEZ, LUIS EDUARDO RODULFO TORRES, and ERICK JOSE MORENO

 RUIZ—be transferred to Fugitive Status. This Order shall remain under seal until further order by

 the Court.

        DONE AND ORDERED in the Southern District of Florida on January 23, 2024.




                                                        _________________________________
                                                        ROY K. ALTMAN
                                                        UNITED STATES DISTRICT JUDGE

 cc:    counsel of record
        Sealed Clerk
